    Case 19-50012       Doc 176    Filed 08/07/19   EOD 08/07/19 21:30:16     Pg 1 of 19



                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

In re:                                                Chapter 11

USA GYMNASTICS, INC.,                                 Case No. 18-09108-RLM-11

Debtor.                                               Adv. Proc. No. 1:19-ap-50012


USA GYMNASTICS, INC.,                                 )
                                                      )
Plaintiff,                                            )
                                                      )
                vs.                                   )
                                                      )
ACE AMERICAN INSURANCE COMPANY f/k/a                  )
CIGNA INSURANCE COMPANY, GREAT                        )
AMERICAN ASSURANCE COMPANY, LIBERTY                   )
INSURANCE UNDERWRITERS INC., NATIONAL                 )
CASUALTY COMPANY, RSUI INDEMNITY                      )
COMPANY, TIG INSURANCE COMPANY,                       )
VIRGINIA SURETY COMPANY, INC. f/k/a                   )
COMBINED SPECIALTY INSURANCE                          )
COMPANY, WESTERN WORLD INSURANCE                      )
COMPANY, ENDURANCE AMERICAN                           )
INSURANCE COMPANY, AMERICAN                           )
INTERNATIONAL GROUP, INC., AMERICAN                   )
HOME ASSURANCE COMPANY, and DOE                       )
INSURERS,                                             )
                                                      )
Defendants.                                           )

             PLAINTIFF USA GYMNASTICS’ MEMORANDUM IN SUPPORT OF
                    MOTION FOR PARTIAL SUMMARY JUDGMENT
                        AGAINST TIG INSURANCE COMPANY

                                   I.    INTRODUCTION

          TIG Insurance Company (“TIG”) sold multiple policies of liability insurance to USA

Gymnastics (“USAG”) between 1986 and 2001. The TIG policies, and the proceeds thereof, are

critical to USAG’s ability to resolve claims asserted by individuals who allege that USAG is



                                             -1-
    Case 19-50012        Doc 176       Filed 08/07/19       EOD 08/07/19 21:30:16           Pg 2 of 19



legally responsible for sexual abuse committed by Larry Nassar (“Nassar”) or by other persons

(collectively, the “Sexual Abuse Claims”). Thirty percent of all of the Sexual Abuse Claims

occurred during years in which USAG was insured by TIG.

        TIG’s position is that limited abuse or molestation exclusions (“AMEs”) in certain of the

TIG policies give TIG a basis to deny coverage for many of the Sexual Abuse Claims. TIG is

wrong. The AMEs in TIG’s policies are either inapplicable to the coverage sought by USAG, or

are limited to a small subset of claimants who allege that abuse occurred while those claimants

were in the care, custody or control of USAG. Because TIG’s unreasonable coverage position

interferes with USAG’s ability to reach a consensual resolution among its carriers and the sexual

abuse survivors, USAG seeks entry of partial summary judgment on an expedited basis.

Specifically, USAG requests entry of a judgment order declaring: (1) that the AME in the 2001

TIG policy applies only to Coverages A and B and does not apply to Coverage D (Legal

Liability to Participants) or any other coverage; (2) that the AME in the 1996 TIG excess policy

does not apply to “bodily injury” claims such as the Sexual Abuse Claims; and (3) that the AME

in the 1991 and 1992 TIG policies does not apply unless the claimant was in the “care, custody

or control” of USAG or another insured at the time of abuse.1

              II.     STATEMENT OF MATERIAL FACTS NOT IN DISPUTE

        A.      The 2001 Primary Policy.

        TIG sold USAG numerous primary and excess level Commercial General Liability

(“CGL”) policies, including a primary policy with an effective date of August 1, 2001, through

August 1, 2002 (the “2001 Policy”). [Dkt. 2-5; Tab 15.] The 2001 Policy has multiple coverage


1
 This is the first of two motions USAG will bring as to TIG. TIG also claims certain USAG policies are
“lost,” but the evidence actually supports the existence of these policies. This “lost policy” motion will be
brought soon.

                                                    -2-
      Case 19-50012        Doc 176      Filed 08/07/19   EOD 08/07/19 21:30:16           Pg 3 of 19



grants. That is, it provides different ways in which a liability may be covered. The 2001 Policy

includes the following separate and independent types of coverage:

          Coverage A: Property Damage & Bodily Injury;
          Coverage B: Advertising & Personal Injury;
          Coverage C: Medical Payments; and
          Coverage D: Legal Liability to Participants.

[Dkt. 2-5; Tab 15 at 521–25, 539.]2 It also provides sexual abuse or molestation liability

coverage. [Id. at 563.]3 Coverages A–D and the sexual abuse or molestation liability coverage

are all separate and independent coverages.4 Each has its own grants, exclusions, conditions, and

limits.

          The 2001 Policy contains an AME that is made applicable only to Coverage A and B (the

“2001 AME”). The 2001 AME states that its exclusion “is added to Paragraph 2., Exclusions of

Section I – Coverage A – Bodily Injury And Property Damage Liability and Paragraph 2.,

Exclusions of Section I – Coverage B – Personal and Advertising Injury Liability.” [Dkt. 2-

5; Tab 15 at 549.]5 The 2001 AME does not state that it applies to Coverages C, D, or to the

sexual abuse or molestation liability coverage. [Id.]

          Coverage D in particular provides important additional coverage to USAG for the Sexual

Abuse Claims.6 It insures USAG for bodily injury liability arising from its athlete participants. It


2
  “Coverage A” covers liability for property damage and bodily injury, while “Coverage B” protects
against exposure for advertising injuries and “personal injuries” (a defined term encompassing several
enumerated claims like defamation, wrongful entry, and invasion of privacy). [Dkt 2-5 at 521, 524, 531.]
Copies of the policy pages containing this language are attached as Exhibit 1.
3
 The sexual abuse or molestation liability coverage does not restrict any other coverages provided by the
policy. [Id. at 563–70.]
4
  TIG also sold USAG an excess policy for the 2001 policy period. This policy follows form in all
relevant ways to the primary policy.
5
    A copy of this AME is attached as Exhibit 2.
6
 As a practical matter, Coverage D is the most significant here. Coverage C is “med-pay” coverage, for
medical expenses up to $5,000 per person. The sexual abuse or molestation liability endorsement provides
up to $1 million per occurrence, with no aggregate limit, but contains a deemer clause which potentially
                                                   -3-
      Case 19-50012        Doc 176      Filed 08/07/19     EOD 08/07/19 21:30:16        Pg 4 of 19



states in relevant part:

                                LEGAL LIABILITY TO PARTICIPANTS

                  This endorsement modifies insurance provided under the following:

                  COMMERCIAL GENERAL LIABILITY COVERAGE FORM

                  ***



                           The following is added to SECTION I – COVERAGES:

                           COVERAGE D – LIABILITY TO “PARTICIPANTS”

                           1.     Insuring Agreement.

                                  a.      We will pay those sums that the insured becomes
                                          legally obligated to pay as damages because of
                                          “bodily injury” to any “participant”. We will have
                                          the right and duty to defend the insured against any
                                          “suit” seeking those damages. . . .

[Dkt. 2-5; Tab 15 at 539.]7

          Coverage D specifically lists all of the exclusions that apply to it:

          2.      Exclusions.

                           This insurance does not apply to:

                           a. “Bodily injury” that is excluded under SECTION I –
                              COVERAGES, COVERAGE A BODILY INJURY AND
                              PROPERTY DAMAGE LIABILITY, 2. Exclusions.
                              Paragraphs a., b., c., d., e., f., g., h., i., and o.

[Id.] Coverage D’s exclusions do not include an AME, nor does Coverage D reference or even

mention the 2001 AME that was applied to Coverages A and B. [See id.] The same is true for

Coverage C [id. at 525] and the sexual abuse or molestation coverage [id. at 566.]

limits coverage to abuse that first occurs during the policy period. Coverage D, however, provides up to
$1 million per occurrence, with no aggregate limit and no deemer clause.
7
    A copy of Coverage D is attached as Exhibit 3.

                                                     -4-
      Case 19-50012         Doc 176      Filed 08/07/19        EOD 08/07/19 21:30:16     Pg 5 of 19



          B.        The 1996 Excess Policy.

          TIG also sold USAG an excess liability Policy with a policy period from September 9,

1996 to August 1, 1997 (“1996 Excess Policy”). [Dkt. 2-5; Tab 12.] It provides $2 million in

additional coverage. The 1996 Excess Policy states:

                                        SECTION I
                                   INSURING AGREEMENTS

          A.        COVERAGE

                    ***

                    The Definitions, Terms, Conditions, Limitations, and Exclusions of the
                    UNDERLYING INSURANCE, in effect at the inception date of this
                    policy, apply to this coverage unless they are inconsistent with provision
                    of this policy, or relate to premium, subrogation, any obligation to defend,
                    the payment of expenses, limits of insurance, cancellation or any
                    renewal agreement.

[Dkt. 2-5; Tab 12, at 448.]8

          This policy also contains a limited “Personal Injury” molestation exclusion. It

          states:


                                   MOLESTATION EXCLUSION

                    This insurance does not apply to Personal Injury arising out of or
                    contributed to by the molestation of anyone. The term molestation as used
                    here includes, but is not limited to:

                    1.     any actual, alleged or threatened sexual conduct or misconduct;

                    2.     any actual, alleged or threatened mental or physical abuse;

                    3.     any negligent screening, hiring, employment, training or
                           supervision related to paragraphs 1. or 2. above; or

                    4.     any investigation, failure to investigate, or failure to report to
                           proper authorities which is related to paragraphs 1. or 2. above.

8
    The relevant policy page is attached as Exhibit 4.

                                                         -5-
      Case 19-50012         Doc 176       Filed 08/07/19      EOD 08/07/19 21:30:16     Pg 6 of 19




                   for which any insured may be legally liable or for which any insured may have
                   assumed the liability of others.

[Dkt. 2-5; Tab 12, at 456 (emphasis in original).]9 The 1996 Excess Policy does not define

“Personal Injury.” But the underlying primary policy, to which the 1996 Excess Policy

“follows form,” defines it as:

           injury, other than “bodily injury”, arising out of one or more of the following
           offenses:

           a.      False arrest, detention or imprisonment;
           b.      Malicious prosecution;
           c.      The wrongful eviction from, wrongful entry into, or invasion of the right
                   of private occupancy of a room, dwelling or premises that a person
                   occupies by or on behalf of its owner, landlord or lessor;
           d.      Oral or written publication of material that slanders of libels a person or
                   organization or disparages a person’s or organization’s goods, productions
                   or services; or
           e.      Oral or written publication that violates a person’s right of privacy.

[Dkt. 2-5; Tab 11, at 410 (emphasis added).] The underlying policy defines “bodily injury” (as

distinguished from “personal injury”) to mean “bodily injury, sickness or disease sustained by a

person, including death resulting from any one of these at any time.” [Id. at 409.]10

           C.      The 1991 And 1992 Primary Policies.

           TIG also sold USAG primary policies with effective dates of August 1, 1991 – August 1,

1992 and August 1, 1992 – August 1, 1993 (the “1991 Policy” and “1992 Policy” respectively).

[Ex. 7, TIG Policy No. SSP-02719412; Dkt 2-5, Tab 2.]11 These policies provide $1 million per

occurrence, with no aggregate limit. Similar to the 2001 Policy, these policies contain participant

liability coverage. However, in these policies, TIG added this coverage as a part of Coverage A,
9
    This AME is attached as Exhibit 5.
10
     The relevant policy definitions are attached as Exhibit 6.
11
  TIG did not produce a copy of the 1991 Policy until after USAG filed this adversary proceeding. The
1991 Policy is attached as Exhibit 7. The declaration of USAG’s corporate representative, Bernadette M.
Barron, authenticating the 1991 Policy is attached as Exhibit 8.

                                                      -6-
     Case 19-50012         Doc 176     Filed 08/07/19     EOD 08/07/19 21:30:16        Pg 7 of 19



as opposed to providing it in a separate Coverage D. [Compare Ex. 7, at 27 and Dkt 2-5, Tab 2,

at 62; with Dkt. 2-5; Tab 15 at 549.]

        The 1991 and 1992 Policies contain a “care, custody or control” AME (the “1991-92

AME”). [Ex. 7, at 27; Dkt 2-5, Tab 2, at 62.] The 1991-92 AME states:

        This insurance does not apply to “bodily injury”, “property damage” or “personal
        and advertising injury” arising out of:

                   1.     The actual or threatened abuse or molestation by anyone of any
                          person while in the care, custody or control of any insured, or

                   2.     The negligent:

                          a.      Employment;
                          b.      Investigation;
                          c.      Supervision
                          d.      Reporting to the proper authorities, or failure to so report;
                                  or
                          e.      Retention;

                          of a person for whom any insured is or ever was legally
                          responsible and whose conduct would be excluded by Paragraph 1.
                          above.

[Ex. 7, at 27; Dkt 2-5, Tab 2, at 62.] The 1991-92 AME is limited to abuse that occurs in

the “care, custody or control” of an “insured.” [Id.]

        These policies define an “insured” as:

        1.         If you are designated in the Declarations as:

             ***

             c. An organization other than a partnership or joint venture, you are an
                insured. Your executive officers and directors are insured. You executive
                officers and directors are insureds, but only with respect to their duties as
                your officers or directors. Your stockholders are also insureds, but only
                with respect to their liability as stockholders.

2.      Each of the following is also an insured.

        a.         Your employees, other than your executive officers, but only for acts

                                                   -7-
   Case 19-50012         Doc 176      Filed 08/07/19     EOD 08/07/19 21:30:16       Pg 8 of 19



                within the scope of their employment by you.


[Ex. 7, at 14; Dkt 2-5, Tab 2, at 44.]

        The 1991 and 1992 Policies do not extend “insured” status to volunteers, such as Nassar.

[Ex. 7, at 14; Dkt 2-5, Tab 2, at 44.] Employees are “insureds,” but “only for acts within the

scope of their employment by you.” [Ex. 7, at 14; Dkt 2-5, Tab 2, at 44.]

                                    III.    LEGAL STANDARD

        A.      Summary Judgment Standard.

        A court must grant partial summary judgment to a party when there is no genuine dispute

of material fact and the party is entitled to judgment as a matter of law on a specific issue. Fed.

R. Civ. P. 56(a). Summary judgment is a particularly useful tool when confronting questions of

law “because there are no genuine issues of material fact that must be resolved.” See Am. Nat’l

Fire Ins. Co. v. Rose Acre Farms, 846 F. Supp. 731, 735 (S.D. Ind. 1994). Contract-

interpretation cases fit into this category. Id.

        In Indiana, the meaning of an insurance policy is a pure issue of law. See id. If a policy is

ambiguous, the court must construe it in favor of coverage rather than submitting the ambiguity

to a jury. Eli Lilly & Co. v. Home Ins. Co., 482 N.E.2d 467, 471 (Ind. 1985). Thus, it is

particularly appropriate for a court to use summary judgment to rule on the meaning of terms in

an insurance policy, as there are typically no factual issues to resolve. Rose Acre Farms, 846 F.

Supp. at 735.

        B.      Rules For Interpreting Insurance Policies.

        Indiana has adopted a set of rules for interpreting insurance contracts. The most

fundamental of these is that “[a]n insurance policy should be so construed as to effectuate

indemnification . . . rather than to defeat it.” Masonic Acc. Ins. Co. v. Jackson, 164 N.E. 628, 631

                                                   -8-
   Case 19-50012       Doc 176      Filed 08/07/19     EOD 08/07/19 21:30:16         Pg 9 of 19



(Ind. 1929). Under Indiana law, an insurance policy is ambiguous if reasonable persons may

honestly differ as to the meaning of the policy language. Id. The fact that policy terms have been

accorded different meanings by different courts is itself important evidence of ambiguity.

Hartford Acc. & Indem. Co. v. Dana Corp., 690 N.E.2d 285, 295, 298 (Ind. Ct. App. 1997); see

also Travelers Indem. Co. v. Summit Corp. of Am., 715 N.E.2d 926, 938 (Ind. Ct. App. 1999). If

there is any ambiguity in a policy term, Indiana law instructs that it be interpreted in favor of the

policyholder and in favor of coverage. Eli Lilly & Co., 482 N.E.2d at 470–71.

       If a policyholder’s interpretation of a term is reasonable, then the policyholder’s

construction governs as a matter of law. Eli Lilly & Co., 482 N.E.2d at 471. The policyholder

need not prove that its interpretation of a term is the only reasonable interpretation. Id. “Where

any reasonable construction can be placed on a policy that will prevent the defeat of the insured’s

indemnification for a loss covered by general language, that construction will be given.” Am.

Econ. Ins. Co. v. Liggett, 426 N.E.2d 136, 144 (Ind. Ct. App. 1981) (emphasis supplied).

Conversely, to defeat coverage, an insurer must prove that its construction of the insurance

agreement is the only plausible or reasonable reading. Id.

       Exclusions like TIG’s AMEs are subject to especially strict scrutiny. Kiger, 662 N.E.2d

at 947, 949; Asbury v. Ind. Union Mut. Ins. Co., 441 N.E.2d 232, 242 (Ind. Ct. App. 1982). An

exclusion can bar coverage only when its terms “clearly and unmistakably” apply. Asbury, 441

N.E.2d at 242; Kiger, 662 N.E.2d at 947, 949; Masonic, 164 N.E. at 631 (holding that coverage

“will not be destroyed by language of exception, unless such exception shall be clear, and free

from reasonable doubt.”). TIG bears the burden of showing that an exclusion applies, FLM, LLC

v. Cincinnati Ins. Co., 27 N.E.3d 1141, 1143 (Ind. Ct. App. 2015). A court must resolve any

uncertainty in the application of an exclusion in favor of coverage. Kiger, 662 N.E.2d at 947.



                                                -9-
  Case 19-50012       Doc 176     Filed 08/07/19        EOD 08/07/19 21:30:16    Pg 10 of 19



                                     IV.       ARGUMENT

       A.      The 2001 AME Is Limited To Coverages A And B And Does Not Limit Any
               Other Coverage Under The 2001 Policy.

       By its terms, the 2001 AME is limited to Coverages A and B and does not apply to

Coverage D (or any coverage other than A and B).

       The 2001 AME modifies insurance provided under the Commercial General Liability

Coverage Part in a specifically limited way:

       The following exclusion is added to Paragraph 2., Exclusions of Section I –
       Coverage A – Bodily Injury And Property Damage Liability and Paragraph
       2., Exclusions of   Section I – Coverage B – Personal and Advertising
       Injury Liability

[Id. at 549.] The 2001 AME adds the exclusion to Coverages A and B only. The 2001 AME does

not state that it is added to Coverages C, D, or to the sexual abuse or molestation liability

coverage. The 2001 AME is a form TIG drafted. TIG could have easily added the exclusion to

Coverage D or the other coverages. But it did not do so.

       The fact that each coverage grant has its own exclusions further proves that the 2001

AME applies only to Coverages A and B. The 2001 AME cannot be used to limit Coverage D

and the other coverages unless it is contained in those coverages’ exclusion sections. C.f.

Travelers Indem. Co. v. Summit Corp. of Am., 715 N.E.2d 926, 940 (Ind. Ct. App. 1999) (“As

Coverages A, B and C stand independent of each other for the purposes of each insuring

agreement and exclusion, we conclude that a plain reading of these unambiguously indicates that

there is no pollution exclusion for the personal injury coverage.”) The Seventh Circuit’s opinion

in Pipefitters Welfare Educ. Fund v. Westchester Fire Ins. Co., 976 F.2d 1037 (7th Cir. 1992) is

instructive. There, the Seventh Circuit rejected an insurer’s attempt to extend an exclusion

clause applicable to one type of coverage to another type of coverage under the same policy. It



                                               - 10 -
  Case 19-50012        Doc 176     Filed 08/07/19      EOD 08/07/19 21:30:16       Pg 11 of 19



found that the insurer’s “attempts to circumvent the plain language of [an] exclusion [by having

it apply to a different coverage part of the policy]” were “disingenuous and misleading—indeed,

they are nearly sanctionable.” Id. at 1042.

       The same is true here. Because the 2001 AME is not listed in the Coverage C, D, or

sexual abuse or molestation coverage exclusions, it does not apply to those coverages. TIG

cannot circumvent the “plain language” of the endorsement by extending the exclusion to

coverages which, by its own terms, it does not apply. Especially in light of the Indiana Supreme

Court’s strict scrutiny of exclusions, TIG’s argument fails as a matter of law. Eli Lilly, 482

N.E.2d at 470–71. The Court should grant USAG’s request for a declaration that the 2001 AME

applies only to Coverages A and B and does not apply to other coverage under the 2001 Policy.

       TIG may argue that because there is a separate abuse or molestation coverage

endorsement, the AME somehow should magically apply to other coverages such as Coverage

D. But the policy, including the abuse or molestation endorsement itself, lacks any language

preventing USAG from recovering for the same claim under multiple coverage parts. Both our

state and federal courts recognize that the same claim can be covered under multiple coverage

grants of a liability insurance policy. See Westfield Ins. Co. v. TCFI Bell SPE III, LLC, No. 1:16-

cv-002269-TWP-MJD, 2019 U.S. Dist. LEXIS 54899, *17 (S.D. Ind. Mar. 30, 2019) (noting that

“some claims may be covered under more than one coverage grant.”); FLM, LLC v. Cincinnati

Ins. Co., 24 N.E.3d 444, 456–58 (Ind. Ct. App. 2014) (holding that a liability is covered under

both Coverage A and Coverage B).

       If TIG intended to limit coverage for certain claims to one coverage part it needed to

include specific language in an exclusion to that effect. TIG did not do this. It cannot infer or

imply an exclusion into coverage where it did not insert the exclusion.



                                              - 11 -
     Case 19-50012         Doc 176   Filed 08/07/19        EOD 08/07/19 21:30:16          Pg 12 of 19



         At the very least, USAG’s narrow construction of this exclusion is a reasonable one. Eli

Lilly & Co., 482 N.E.2d at 471. That reasonable position proves an ambiguity that must be

construed in favor of coverage. Liggett, 426 N.E.2d at 144.

         B.          The 1996 Excess Policy AME Does Not Apply To Sexual Abuse Claims.

         The 1996 Excess Policy AME (the “1996 AME”) is similarly limited and does not does

not apply to exclude coverage for Sexual Abuse Claims. [Dkt. 2-5; Tab 12, at 456.] It provides:

“This insurance does not apply to Personal Injury arising out of or contributed to by the

molestation of anyone.” (emphasis in the original). [Id.]

         The phrase “Personal Injury” is capitalized and bolded. This signifies that it is a defined

term in any contract and especially so in standard insurance industry practice.12 The 1996 Excess

Policy does not define “Personal Injury” [Dkt. 2-5; Tab 12, at 456], but instead incorporates the

definitions found in the underlying primary insurance policy, including its definition of

“Personal Injury.” [Dkt. 2-5; Tab 12, at 448 (“The Definitions . . . of the UNDERLYING

INSURANCE . . . apply to this coverage unless they are inconsistent with provision of this

policy . . . .”).]

         The underlying policy defines “Personal Injury” as:

         injury, other than “bodily injury”, arising out of one or more of the following
         offenses:


12
   Lafayette Life Ins. Co. v. Arch Ins. Co., 784 F. Supp. 2d 1034, 1043 (N.D. Ind. 2011) (“‘Related
Claims’ is a defined term, and like other defined terms in the Policy, ‘Related Claims’ appears in bold and
capital letters when used.”); See also, Auto-Owners Ins. Co. v. Kammerer, No. 18-cv-02143 (ECT/SER),
2019 U.S. Dist. LEXIS 70881, at *6-7 (D. Minn. Apr. 26, 2019) (using bolded words to signify they are
defined terms); Tedla v. Metro. Grp. Prop. & Cas. Ins. Co., No. C06-108Z, 2006 U.S. Dist. LEXIS
64285, at *14 (W.D. Wash. Sep. 8, 2006) (same); Progressive Preferred Ins. Co. v. Reece, 498 S.W.3d
498, 503-04 (Mo. Ct. App. 2016) (same); Long v. Shelter Ins. Cos., 351 S.W.3d 692, 703 (Mo. Ct. App.
2011) (“[T]he ordinary insured will observe that the word "Declarations" is in bold, and is thus a defined
term.”) C.f. Gov't Emples. Ins. Co. v. Gordon, 725 F. App'x 919, 921 (11th Cir. 2018) (using bold and
italics for defined terms); Marentes v. State Farm Mut. Auto. Ins. Co., 224 F. Supp. 3d 891, 911 (N.D.
Cal. 2016) (using bold and italics for defined terms).

                                                  - 12 -
  Case 19-50012       Doc 176     Filed 08/07/19      EOD 08/07/19 21:30:16      Pg 13 of 19



       a.     False arrest, detention or imprisonment;
       b.     Malicious prosecution;
       c.     The wrongful eviction from, wrongful entry into, or invasion of the right
              of private occupancy of a room, dwelling or premises that a person
              occupies by or on behalf of its owner, landlord or lessor;
       d.     Oral or written publication of material that slanders of libels a person or
              organization or disparages a person’s or organization’s goods, productions
              or services; or
       e.     Oral or written publication that violates a person’s right of privacy.

[Dkt. 2-5; Tab 11, at 410 (emphasis added).] Put simply, “Personal Injury,” as used in this AME,

does not include “bodily injury.” Therefore, this “Personal Injury” AME does not impact bodily

injury coverage.

       The 1996 excess policy covers damages covered by the underlying insurance, unless

excluded or inconsistent with the excess policy’s terms. [Dkt. 2-5; Tab 12, at 448 (“This

insurance . . . applies to injury or damage covered by the UNDERLYING INSURANCE.”)] The

underlying primary insurance lacks any AME. It covers damages arising from bodily injury.

[Dkt. 2-5; Tab 11, at 392, 397, 399, 417 (emphasis added).] Therefore, the 1996 Excess Policy,

since its AME does not bar “bodily injury,” provides coverage for “bodily injury.”

       Both the physical and emotional effects of sexual abuse constitute “bodily injury” under

Indiana law. Courts applying Indiana law have found that emotional distress sustained after

experiencing sexual abuse by bodily touching constitutes “bodily injury” as defined by a

commercial general liability policy. See State Farm Mut. Auto. Ins. Co. v. Jakupko, 881 N.E.2d

654, 658 (Ind. 2008); Westfield Ins. Co. v. Hill, 790 F. Supp. 2d 855, 861 (N.D. Ind. 2011);

Wayne Township Bd. of Sch. Comm'rs v. Indiana Ins. Co., 650 N.E.2d 1205 (Ind. Ct. App. 1995).

Because the Sexual Abuse Claims assert claims for bodily injury, the 1996 AME does not impact

coverage for the Sexual Abuse Claims.

       If TIG wished to expand the 1996 AME’s definition of “Personal Injury” to include



                                             - 13 -
  Case 19-50012        Doc 176    Filed 08/07/19       EOD 08/07/19 21:30:16            Pg 14 of 19



bodily injury, it needed to be explicit. Flexdar, 964 N.E.2d at 848, 852. In Indiana, exclusions

are strictly construed in favor of coverage. Kiger, 662 N.E.2d at 947, 949. USAG’s construction

of the 1996 AME, which tracks the defined terms selected by TIG for its policies, is reasonable

and therefore requires a ruling in USAG’s favor. Eli Lilly & Co., 482 N.E.2d at 471. The Court

should grant USAG’s request for a declaration that the 1996 Excess Policy does not exclude the

Sexual Abuse Claims.

       C.     The 1991 and 1992 Policies’ AMEs Do Not Apply To Sexual Abuse Claims
              Where The Claimant Was Not In USAG’s “Care, Custody or Control.”

       The 1991 and 1992 Policies contain identical “care, custody or control” AMEs (the

“1991-92 AMES”) that limit their effect to claims made by individuals who assert that sexual

abuse occurred while they were in the “care, custody or control” of an “insured.” The 1991-92

AMEs state:

       This insurance does not apply to “bodily injury”, “property damage”, “advertising injury”
       or “personal injury” arising out of:

       (a)    the actual or threatened abuse or molestation by anyone of any person
              while in the care, custody or control of any insured, or

       (b)    the negligent:
              (i)    employment;
              (ii)   investigation;
              (iii) supervision;
              (iv)   reporting to the proper authorities, or failure to so report; or
              (v)    retention;

       of a person for whom any insured is or ever was legally responsible and whose
       conduct would be excluded by (a) above.

[Id. (emphasis added).]

       This exclusion applies to damages that arise out of either the act of abuse itself or

negligent conduct related to the person who committed the act of abuse. Section (a) bars

coverage for the actual act of abuse of any person while in the “care, custody or control” of any

                                              - 14 -
     Case 19-50012      Doc 176      Filed 08/07/19        EOD 08/07/19 21:30:16          Pg 15 of 19



insured. Section (b) bars coverage for certain types of negligent conduct related to a person for

whom the insured was legally responsible.

        Section (b) only applies, however, if the “conduct would be excluded by (a) above.” In

other words, under either clause, the abuse must have occurred while in the care, custody or

control of an insured. See Conn. Ins. Guar. Ass'n v. Daigle, No. CV054013240S, 2007 Conn.

Super. LEXIS 546, at *12 (Super. Ct. Feb. 21, 2007) (“Paragraph (2) refers to conduct which

would be excluded by paragraph (1). Therefore the exclusion in paragraph (2) is dependent upon

the exclusion in paragraph (1).”); See also 12th St. Gym, Inc. v. Phila. Indem. Ins. Co., No.

03393, 2006 Phila. Ct. Com. Pl. LEXIS 239, at *8 (C.P. June 12, 2006) (noting that paragraph

(b), “excludes from coverage the (i) insured's negligent employment, investigation, supervision,

reporting or failure to report, or retention (ii) of a person for whom the insured is legally

responsible, (iii) whose conduct amounts to abuse or molestation of any person under

the care, custody and control of the insured.”) (emphasis added).

        The limitation in the 1991-92 AME is significant in this case. The overwhelming

majority of Sexual Abuse Claims allege abuse at locations where the claimant was not within

USAG’s “care, custody or control,” such as Michigan State University or Nassar’s home.13 TIG

should not be permitted to use the 1991-92 AME to deny coverage for these claims. USAG is

entitled to a declaration that the 1991-92 AME only applies to the extent that the abuse or

13
  Nassar was not an insured under the 1991 and 1992 Policies. Nassar was only a volunteer for USAG.
He was not an employee. Volunteers are not insureds under these policies. [Ex. 3, at 14; Dkt 2-5, Tab 2, at
44.] Even if he was an employee, he still would not qualify as an insured. The policy limits insured status
to employees “only for acts within the scope of their employment by you.” [Id.] There is no claim that
Nassar’s abuse was within his scope of employment—even if he were a USAG employee—which he was
not. See, e.g., Holiday Hospitality Franchising, Inc. v. AMCO Ins. Co., 983 N.E.2d 574, n.3 (Ind. 2013)
(noting that in the underlying case employee was found to have been acting outside the course and scope
of his employment when he molested minor); Sanchez by Rivera v. Montanez, 165 Pa. Commw. 381, 645
A.2d 383, 391 (Pa. Commw. Ct. 1994) (holding that if an assault is committed for personal reasons or in
an outrageous manner, it is not actuated by an intent of performing the business of the employer and is not
done within the scope of employment) (internal quotation omitted).

                                                  - 15 -
  Case 19-50012       Doc 176      Filed 08/07/19     EOD 08/07/19 21:30:16     Pg 16 of 19



threatened abuse or molestation occurred while the claimant was in the care, custody or control

of USAG or another insured.

                                        V.   CONCLUSION

       The TIG policies’ various AMEs either do not apply or apply to only a portion of the

claims against USAG. USAG respectfully requests entry of a partial summary judgment order

declaring that: (1) the AME in the 2001 TIG policy applies only to Coverages A and B and does

not limit other coverages applicable to the Sexual Abuse Claims, including Coverage D, Legal

Liability to Participants; (2) the AME in the 1996 TIG excess policy does not apply to “bodily

injury” claims such as the Sexual Abuse Claims; and (3) the AME in the 1991 and 1992 TIG

policies does not apply unless the claimant was in the “care, custody or control” of USAG or

another insured at the time of abuse.



Dated: August 7, 2019                        Respectfully submitted,

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                                             - 16 -
Case 19-50012   Doc 176   Filed 08/07/19     EOD 08/07/19 21:30:16     Pg 17 of 19



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                                    - 17 -
  Case 19-50012        Doc 176     Filed 08/07/19       EOD 08/07/19 21:30:16       Pg 18 of 19



                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 7, 2019, a copy of the foregoing was filed electronically.
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                                               - 18 -
  Case 19-50012     Doc 176     Filed 08/07/19     EOD 08/07/19 21:30:16    Pg 19 of 19



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                                          - 19 -
